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8 UNITED STATES DISTRICT COURT
9 FOR THE CENTRAL DISTRICT OF CALIFORNIA
10 February 2007 Grand Jury
11 || UNITED STATES OF AMERICA, ) CR 07- {\F -O1 143
)
12 Plaintiff, ) INDICIMENT
)
13 Vv. ) [21 U.S.C. § 846: Conspiracy
) to Possess with Intent to
14 | CHARLES LEROY TWYMAN, ) Distribute and Distribute
aka “Lee,” and ) Cocaine Base; 21 U.S.C. §
15 | DEBRA ANN JOHNSON, ) 843 (b): Use of a Communication
) Facility in Committing a
16 Defendants. ) Felony Drug Offense]
)
17
18
19
The Grand Jury charges:
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COUNT ONE
21
[21 U.S.C. § 846]
22
A. OBJECTS OF THE CONSPIRACY
23
On-or—about_Mareh_17,2006,—_in Les Angeles—County,—_within
24
the Central District of California, and elsewhere, defendants
25
CHARLES LEROY TWYMAN, also known as “Lee” (“TWYMAN”) and DEBRA
26
ANN JOHNSON (“JOHNSON”), and others known and unknown to the
27
Grand Jury, conspired and agreed with each other to knowingly and
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intentionally (a) possess with intent to distribute and (b)

 
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1 |} distribute more than 5 grams of a mixture or substance containing
2 | cocaine base, in the form of crack cocaine, a Schedule II

3 1 controlled substance, in violation of Title 21, United States

41 Code, Section 841 (a) (1).

5 |B. MEANS BY WHICH THER OBJECTS OF THE CONSPIRACY WERE TO BE

6 ACCOMPLISHED

7 The objects of the conspiracy were to be accomplished in

8 || substance as follows:

9 1. Defendant TWYMAN would store cocaine base in defendant
10 | JOHNSON’s house.

11 2. Defendant TWYMAN would sell cocaine base to drug

12 ] customers.

13 3. Defendant TWYMAN would direct defendant JOHNSON to

14 || distribute the cocaine base stored at defendant JOHNSON’s house
15 || to defendant TWYMAN’s drug customers.

16] C. OVERT ACTS

17 In furtherance of the conspiracy and to accomplish the

18 || objects of the conspiracy, defendants, and others known and

19 |} unknown to the Grand Jury, committed various overt acts on or
20 || about March 17, 2006, within the Central District of California
211 and elsewhere, including but not limited to the following:
22 1. In a telephone conversation and using coded language, a
23 || customer ordered cocaine base from defendant TWYMAN, and
24 || defendant TWYMAN told the customer to pick up the cocaine base at
25 | defendant JOHNSON’s house.

26 2. In a telephone conversation and using coded language,
27 || defendant TWYMAN told defendant JOHNSON to look in the box where
28 || he had stored cocaine base at defendant JOHNSON’s house, and told

 

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defendant JOHNSON to take out two packages of cocaine base for
defendant TWYMAN’s customer.

3. In a telephone conversation and using coded language,
defendant TWYMAN told defendant JOHNSON to charge the customer
$240 for the cocaine base.

4. Defendant JOHNSON, at defendant TWYMAN’s direction,
distributed the two packages of cocaine base to the customer at
defendant JOHNSON’s house.

5. In a telephone conversation and using coded language,
defendant TWYMAN told defendant JOHNSON to sell the same customer
two more packages of cocaine base that defendant TWYMAN had

stored at defendant JOHNSON’s house.

 

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COUNT TWO
[21 U.S.C. § 843(b)]

On or about March 17, 2006, in Los Angeles County, within
the Central District of California, defendant CHARLES LEROY
TWYMAN, also known as “Lee,” knowingly and intentionally used a
communication facility, namely, a telephone, in committing and
causing and facilitating the commission of a felony drug offense,
namely, conspiracy to possess with intent to distribute and
distribute more than 5 grams of a mixture or substance containing
cocaine base, in the form of crack cocaine, a schedule II
controlled substance, a violation of 21 U.S.C.

§ 846.

 

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1 COUNT THREE
2 [21 U.S.C. § 843 (b)]
3 On or about March 17, 2006, in Los Angeles County, within
4 |} the Central District of California, defendant DEBRA ANN JOHNSON
5 || knowingly and intentionally used a communication facility,
6}!inamely, a telephone, in committing and causing and facilitating
7 || the commission of a felony drug offense, namely, conspiracy to
8 | possess with intent to distribute and distribute more than 5
9} grams of a mixture or substance containing cocaine base, in the
10 | form of crack cocaine, a schedule II controlled substance, a
11} violation of 21 U.S.C. § 846.
12 A TRUE BILL
13
14 /s/
FOREPERSON
15
16 || GEORGE S. CARDONA
United States Attorney
17
18
19 || THOMAS P. O’BRIEN
Assistant United States Attorney
20 | Chief, Criminal Division
21 || BONNIE L. HOBBS
Assistant United States Attorney
22 || Violent and Organized Crime Section
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